To: Judge Victor Marrero Chambers   Page 1 of 2           2018-12-14 20:02:33 (GMT)                     16463045277 From: Robert Seiden
                     Case 1:18-cv-11642-VM-VF Document 7 Filed 12/14/18 Page 1 of 2

                                                                                         l ·.nc SDNY
                                                                                          J)(WliMENT
                                                                                        . F!Sf'TRO:'llCALLY FILED
              UNITED STA TES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK                                            h.
                                                                                        ~~,~"::
                                                                                       ~~tio:   '
                                                                                                               'JfI jjrrfj'
                                                                                                                       '-1.J     I




              WAYNE BALIGA, derivatively on behalf of
              LINK MOTION INC. (F/K/A NQ MOBILE INC.)                                       1 :18-cv-11642

                                                  Plaintiff,                          TEMPORARY RESTRAINING
                               -against-                                                     ORDER

              LINK MOTION INC. (F/K/A NQ MOBILE INC.),
              VINCENT WENYONG SHI,
              JIA LIAN,
              XIAO YU,

                                                  Defendants,
                               -and-

              LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                                                  Nominal Defendant.



                      On December 14, 2018 Plaintiff Wayne Baliga filed a Proposed Order to Show Cause with

              Temporary Restraining Order, along with an Affirmation from Michael D. Cilento in Support of

              Tempora1y Restraining Order and Order to Show Cause, and supporting exhibits, and an Affinnation

              from Robert W. Seiden in Support of Temporary Restraining Order and Order to Show Cause. I have

              reviewed PlainLiff's submission, and, with good cause appearing, it is hereby:

                      ORDERED THAT, pending the hearing and determination of Plaintiff's Order to Show Cause,

              Defendants I shall be temporarily restrained and enjoined from: transfening, liquidating, dissipating,

              assigning, and/or f,>ranting a lien or security interest or other interest in, any assets belonging to Link

              Motion Inc. (the "Company") including, among other things, its subsidiaries, businesses, physical



              1 Includ[ng Defendants' successors, assigns, officers, agents, employees, and attorneys, and those persons or

              entities in active concert or participation with any of them who receive actual notice of this Order by personal
              service or otherwise. whether acting directly or through any corporation, subsidiary, division, or other device,
To: Judge Victor Marrero Chambers   Page 2 of 2     2018-12-14 19:46:36 (GMT)                     16463045277 From: Robert Seiden
                     Case 1:18-cv-11642-VM-VF Document 7 Filed 12/14/18 Page 2 of 2




              assets, and cash reserves. Notwithstanding this Order, the Company shall be allowed to continue to

              process normal day-to-day operational costs, including but not limited to payroll, attorneys' fees, and

              auditor fees.

                       IT IS FURTHER ORDERED THAT this Order shall remain in effect for fourteen (14) days.

              The parties arc directed to meet and confer and to submit a joint letter to the Court on or before

              December 21, 2018, (I) indicating whether Defendants consent to an extension of this Order beyond

              the initial fomteen-day period, and (2) setting forth a proposed briefing schedule with respect to

              Defendants' opposition to and Plaintiffs' reply in further support of Plaintiffs request for a preliminary

              injunction and appointment of a temporary receiver.

              SO ORDERED.


              Dated:    December 14, 2018



                                                          ~
                        New York, New York



                                                            United States District Judge
